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 7   Attorneys for Defendants,
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 8   PEGATRON TECHNOLOGY SERVICE INC. AND
     UNIHAN CORPORATION
 9
10                                UNITED STATES DISTRICT COURT

11                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                                        OAKLAND DIVISION

13
     VIA LICENSING CORPORATION,                         Civil Action No. CV 15-4086 JSW
14
                    Plaintiff,
15          v.                                          DEFENDANTS PEGATRON
                                                        CORPORATION, PEGATRON
16   PEGATRON CORPORATION, PEGATRON                     TECHNOLOGY SERVICE INC. AND
     TECHNOLOGY SERVICE INC. and                        UNIHAN CORPORATION’S
17   UNIHAN CORPORATION,                                CORPORATE DISCLOSURE
                                                        STATEMENT AND CERTIFICATION OF
18                  Defendants.                         INTERESTED ENTITIES OR PERSONS

19                                                      [FED. R. CIV. P. 7.1; CIVIL L.R. 3-15]

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     DEFENDANTS’ CORPORATE DISCLOSURE STATEMENT AND CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
     Case No. CV 15-4086 JSW
       Case 4:15-cv-04086-JSW Document 39 Filed 12/17/15 Page 2 of 2


 1          Pursuant to Fed. R. Civ. P. 7.1 and Civil L.R. 3-15, the undersigned counsel makes the
 2   following disclosures and certifications on behalf of Defendants Pegatron Corporation
 3   (“Pegatron”), Pegatron Technology Service Inc. (“PTSI”) and Unihan Corporation (“Unihan”):
 4          a. Pegatron certifies that it has no parent company and that no publically held corporation
 5              owns 10% or more of its stock. The undersigned certifies on behalf of Pegatron that as
 6              of this date, other than the named parties, there is no such interest to report with respect
 7              to Pegatron.
 8          b. PTSI is a wholly owned subsidiary of its parent company Pegatron. The undersigned
 9              certifies on behalf of PTSI that as of this date, other than the named parties, there is no
10              such interest to report with respect to PTSI.
11          c. Unihan was merged back into its parent company Pegatron on December 31, 2013 and
12              no longer exists as a separate company. The undersigned certifies on behalf of Unihan
13              that as of this date, other than the named parties, there is no such interest to report with
14              respect to Unihan.
15
16   DATED: December 17, 2015          Respectfully submitted,
17                                     SINGULARITY LLP
18
19                               By:     /s/ Ronald S. Lemieux
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26                                     PEGATRON TECHNOLOGY SERVICE INC. AND
                                       UNIHAN CORPORATION
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     DEFENDANTS’ CORPORATE DISCLOSURE STATEMENT AND CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
     Case No. CV 15-4086 JSW                                                            -1-
